                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF NEW MEXICO

In Re:
         Dorothy Marie Byrd,                                      Case No. 18-11852-t7
                        Debtor(s).


                                      CERTIFICATE OF SERVICE

         COMES NOW the Debtor, Dorothy Marie Byrd, by and through her attorney, Diane Webb,

Attorney at Law, P.C., and does hereby certify that a true and correct copy of the Statement of Intention

and this Certificate of Service were sent electronically or by First Class U.S. Mail, postage prepaid to the

following parties on July 27, 2018:

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                              Respectfully Submitted,

                              DIANE WEBB, ATTORNEY AT LAW, P.C.,

                              By NO GRAPHICS AVAILABLE;

                              ELECTRONICALLY FILED

                              Diane Webb
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